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                                   4                                UNITED STATES DISTRICT COURT

                                   5                            NORTHERN DISTRICT OF CALIFORNIA

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                                   7     JOSEPH GREGORIO, et al.,                      Case No. 17-cv-03824-PJH
                                                      Plaintiffs,
                                   8
                                                                                       ORDER TERMINATING CERTAIN
                                                v.                                     MOTIONS REGARDING CLASS
                                   9
                                                                                       CERTIFICATION
                                  10     THE CLOROX COMPANY,
                                                                                       Re: Dkt. Nos. 104, 125, 133, 140, 145
                                                      Defendant.
                                  11

                                  12         The court has reviewed the parties’ stipulation to vacate “until further notice” the
Northern District of California
 United States District Court




                                  13   October 30, 2019 hearing on plaintiffs’ motion for class certification and defendant’s

                                  14   motions to strike. While the court is amenable to vacating the hearing to permit the

                                  15   parties to attempt to resolve this matter, the court does not permit motions to languish on

                                  16   its docket. Accordingly, the court administratively terminates the motions at docket

                                  17   numbers 104, 125, 133, 134, 135, 140, and 145. These motions may be re-noticed for

                                  18   hearing, if necessary, on an available date on the court’s calendar.

                                  19         IT IS SO ORDERED.

                                  20   Dated: October 25, 2019

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                                  22                                                           /s/ Phyllis J. Hamilton
                                                                                               PHYLLIS J. HAMILTON
                                  23                                                           United States District Judge
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